Case 2:04-CV-02429-BBD-tmp Document 19 Filed 06/09/05 Page 1 of 2 Page|D 26

 

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IN THE UNITED sTATEs DISTRICT cOURT “:91~&€.
WESTERN DISTRICT OF TENNESSEE USJUM_Q
WESTERN DIvIsION FH 3=35
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PATRICIA COLLINS, 'D‘GFTN,L£MM$§
Plaintiff,
vs. NO. 04-2429-Map

JOHN E. POTTER,
United States Postmaster,

Defendant.

 

ORDER OF TRANSFER

 

The above~styled case is hereby transferred to Judge Bernice
B. Donald in exchange for Case NO. 2:04~2299-DV, Florence Hall v.
Jehn W. Snow, Secretarv Of the United States Dept. Of the
Treasury. The parties shall, On all pleadings and correspondence
related to this matter, change the judge’s initials in the ease
number from “Ma” to “D.”

zl/L

lt is so ORDERED this day cf June, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

T:.'\s document entered on the docket sheet `n comp|iance
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with Flule 58 and/or 79(3} FHCP on _LL_£.(L.Q§

 

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This notice confirms a copy of the document docketed as number 19 in
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chorable Bernice Dcnald
US DISTRICT COURT

